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     In The United States Court of Federal Claims
                                          No. 09-242L

                                   (Filed: February 10, 2012)
                                           __________

  LOIS A. BURGESS, MARY VAN ELLEN
  and ADELINE M. JOHNSON, for themselves
  and as representatives of a class of similarly
  situated persons,

                                Plaintiffs,

                         v.

  THE UNITED STATES,

                                Defendant.


                                              __________

                                               ORDER
                                              __________

        Oral argument on the parties’ partial motions for summary judgment in this case was held
on February 8, 2012. Participating in the argument were Thomas S. Stewart, on behalf of
plaintiffs, and Frank J. Singer, on behalf of defendant. As agreed upon by the parties at oral
argument, the court hereby orders as follows:

       1.       On or before February 29, 2012, plaintiffs shall file a chart laying out
                their position as to each of the 129 parcels at issue, and shall provide a
                manipulable electronic copy of said chart to defendant. Said chart shall be
                in landscape format and organized with five columns as follows:

                a.     The first column shall sequentially list each parcel of land
                       at issue in this case;

                b.     For each parcel, the second column should cite to the relevant
                       deed(s) in the exhibits filed with the court;

                c.     The third column should indicate plaintiffs’ position as regards
                       the parcel in question; and
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         d.     The two remaining columns shall be left blank.

2.       On or before March 23, 2012, defendant shall file an augmented version of
         the above-described chart reflecting, in the fourth column, defendant’s
         position as regards to the parcel in question and any disagreement with
         plaintiff’s position regarding said parcel. The fifth column on the page
         shall be left blank.

3.       The filing referenced in paragraph 2 shall be in normal PDF format
         (defendant need not separately provide the court with a manipulable
         electronic copy).

IT IS SO ORDERED.



                                              s/ Francis M. Allegra
                                              Francis M. Allegra
                                              Judge




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